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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS


SEAN DOYLE et al.,
                                           Case No.: 3:24-cv-12030-MGM
            Plaintiffs,

v.

FEDERAL EXPRESS CORPORATION,
successor by merger to FEDEX GROUND
PACKAGE SYSTEM, INC.,

            Defendant.

FEDERAL EXPRESS CORPORATION’S MEMORANDUM IN SUPPORT OF MOTION
    FOR RULE 11 SANCTIONS TO DISMISS PLAINTIFFS’ FIRST AMENDED
                           COMPLAINT
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          Lichten & Liss-Riordan, P.C. (“LLR”) certified to the best of its “knowledge,

information, and belief, formed after an inquiry reasonable under the circumstances” that the

claims in this case were “not being presented for any improper purpose, such as to harass, cause

unnecessary delay, or needlessly increase the cost of litigation” and that the claims in the original

and amended complaints were “warranted by existing law” and have, or will have, sufficient

“evidentiary support.” See Fed. R. Civ. P. 11(b). Contrary to that certification, LLR failed to

conduct any inquiry, let alone a reasonable one, before filing this case naming 38 Plaintiffs. LLR

did the same in several other cases it filed against FedEx on the same day as this one, totaling

over 12,000 individual plaintiffs between the four mass action cases for whom LLR did not meet

their Rule 11 obligations. See Alleyne v. Federal Express, No. 3:24-cv-12031-KAR (D. Mass.)

(145 Plaintiffs); Abner v. Federal Express, No. 2:24-cv-01129-RJC (W.D. Pa.) (11,643

Plaintiffs); Brannon v. Federal Express, No. 2:24-cv-01128-RJC (W.D. Pa.) (385 Plaintiffs). 1

          “Rule 11 imposes the same obligations on a lawyer regardless of whether he files one

complaint or 10,000 complaints” and “[t]he solution to managing these types of mass actions is

surely not that the standard of care diminishes as the number of cases grows.” In re Engle Cases,

283 F. Supp. 3d 1174, 1221 (M.D. Fla. 2017) (emphasis omitted). Yet, by filing this case,

particularly in light of the three other mass actions LLR has filed, LLR has violated Rule 11 in

several ways.

          First, LLR’s amended complaint violates Rule 11(b)(1) for two independent reasons. The

first is that LLR cannot show that these 38 Plaintiffs are real Plaintiffs. Before filing this case,

LLR was litigating the conditionally-certified Roy action of approximately 550 opt-ins. The

Court determined that the Plaintiffs had not “identified reliable common or representative


1
    FedEx will be filing Rule 11 motions in these cases as well.



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evidence of an FLSA violation.” (Roy, ECF No. 408 at 16.) After the Court decertified the

collective, LLR asked for additional tolling of 120 days. Rather than using that time to

investigate the claims of the former opt-ins and determine whether they could pursue their claims

individually, LLR simply sued on behalf of as many of the opt-ins from Roy, as well as the

Claiborne case (discussed below), they could muster with a simplistic, misleading electronic

outreach.

       LLR did not bother to communicate to these former opt-ins the significant differences

between pursuing a case individually and joining a collective. Unlike before, where most of these

Plaintiffs were only limited participants—they are now expected to fully participate in discovery,

including sitting for depositions, and risking exposure to cost awards. Because LLR didn’t

communicate these differences, it didn’t get informed consent from the Plaintiffs to change their

status and proceed with the present lawsuit.

       The lack of informed consent leads to the second way in which LLR violated Rule

11(b)(1): there is no reason to believe that LLR will be able to marshal the extensive discovery

necessary in this case. Over the course of five years in Roy, LLR was unable to meet discovery

obligations not only for the 50 discovery opt-ins, the two named Plaintiffs, and deposed opt-ins

(some of which are now Plaintiffs in this case), as admitted to the Claiborne court, No. 2:18-cv-

01698-RJC (W.D. Pa.), many times. According to LLR, this problem wasn’t just a matter of

capacity. It represented to the Claiborne court that obtaining discovery from the opt-ins would

take years because many of them would rather drop out of the case entirely than engage in the

discovery process (even as limited as it was for opt-ins). When addressing this issue with the

Claiborne court, LLR used the Roy case with just 50 discovery opt-ins to demonstrate the

significant struggles it had obtaining discovery just from that small number. Despite these




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representations, LLR has moved forward with a complaint naming 38 individuals here, in

addition to the three other complaints for 12,000 plaintiffs, knowing full well it will not be able

to ensure the required Plaintiff-level participation from them. In fact, LLR knows full well that

many of these 38 Plaintiffs did not meet even the limited discovery participation required of

them as opt-ins in the Roy case. The reason for this strategy is clear—LLR wanted to increase the

costs of litigation and harass FedEx into settlement.

       Second, LLR’s amended complaint violates Rule 11(b)(2)-(3). LLR has alleged

inaccurate facts for many Plaintiffs despite having evidence readily available to it, has included a

Plaintiff in this complaint who is also a Plaintiff named in the Alleyne action, and has not

requested the Plaintiffs’ pay documents from their employers, the Service Providers. FedEx

should not be required to respond to a complaint that is indisputably in violation of Rule 11.

                     FACTUAL AND PROCEDURAL BACKGROUND

I.     THE ROY AND CLAIBORNE ACTIONS

       In 2017, LLR filed an FLSA action against FedEx in this court, Roy v. FedEx Ground

Package System, Inc., No. 3:17-cv-30116-KAR (D. Mass.) (“Roy”). 2 Magistrate Judge

Robertson conditionally certified the collective of Massachusetts drivers on November 27, 2018,

resulting in approximately 550 individuals opting into the case. (See id., ECF No. 64.)




2
 FedEx notes that this case, Doyle, is pending in the Springfield Division based on Plaintiffs’
designation that Doyle is related to Roy. (See Compl., ECF No. 1.) By filing this motion, FedEx
does not concede relatedness and maintains that this action neither involves the same or
substantially similar issues of fact nor grows out of the same occurrence or transaction as the Roy
action. See LR 40.1(g). FedEx will be filing (or may have already filed by the filing of this
motion) its opposition to the designation of relatedness, pursuant to LR 40.1(g)(6).



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       A.      The Roy Action Was Riddled with Serious Discovery Issues

       In December 2019, the Court held that FedEx was entitled to seek written discovery, in

the form of questionnaires, from 50 opt-ins FedEx chose. (Id., ECF No. 118.) Throughout the

next four years, up until Magistrate Judge Robertson granted FedEx’s motion to decertify the

collective, the Roy litigation was riddled with discovery difficulties. Pursuant to the parties’

agreed-to rolling schedule, in February 2020, FedEx sent questionnaires for an initial nine opt-

ins. (Ex. A, J. Scott Decl. ¶ 4.) Four of those nine opted out or were dismissed from the case.

(Id.) In May 2020, FedEx sent 13 questionnaires. (Id. ¶ 5.) Seven of those opt-ins were

ultimately dismissed from the case. (Id.) FedEx sent 28 questionnaires in June 2020, and of

those, 20 ultimately opted out or were dismissed from the case. (Id. ¶ 6.) In September 2020,

FedEx sent questionnaires to 10 opt-ins, all of which were ultimately dismissed from the case.

(Id. ¶ 7.) FedEx sent out another 49 questionnaires in December 2020, and 10 of those opt-ins

were eventually dismissed. (Id. ¶ 8.) In March 2021, FedEx sent out another 15 questionnaires,

four of which were ultimately dismissed. (Id. ¶ 9.) In total, FedEx sent 129 questionnaires, some

of which went to opt-ins selected by LLR, 52 for which it never received a response. (Id. ¶ 10.) 3

55 of those 129—42 percent of the discovery opt-ins—were dismissed with prejudice from the

case. (Roy ECF Nos. 187, 193, 214, 221, 242, 260, 261, 310, 337.) FedEx never even received

complete responses from a total of the 50 of its selected discovery opt-ins (receiving only 36),

which the Court had ordered it was entitled to, despite it issuing dozens of questionnaire to

alternates, by the time it had to move for decertification. (Scott Decl. ¶ 11.)



3
 Plaintiffs had sought discovery from FedEx for a separate 50 opt-ins than those FedEx had
chosen and, as a result, agreed to provide questionnaire responses for those as well (Roy, ECF
No. 221 at 18), resulting in FedEx ultimately being entitled to a total of 100 completed opt-in
questionnaires.



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       Throughout the Roy case, and to the Claiborne court as well, Ms. Liss-Riordan repeatedly

described LLR’s struggles with getting opt-ins to participate in discovery:

       •       To Judge Colville in a January 2021 status conference in Claiborne, regarding the
               Roy case: “So in that case where we have about 500 some odd opt-ins, the Court
               ordered this written discovery for 50. We have been going through this process of
               doing the discovery for 50. So we have used FedEx’s questionnaire on the 50. I
               will say it’s been very hard, we have been working very hard, our associates and
               our paralegals have been working very hard on responding to discovery even for
               50, and it has been very difficult. Because it’s just hard to get people who opted
               into a case who understood that somebody else was going to be prosecuting the
               case for them to actually engage in discovery.” (Claiborne, Hr’g Tr. 11:12-22,
               Jan. 27, 2021, excerpts attached as Ex. B (emphasis added).)

       •       “So at some point we may need to get your guidance on what happens with
               people who have responded to discovery, written discovery, but, um, we can’t get
               them pinned down to schedule dates. You know I expect that will happen, we’ll
               keep following up with these two, but they haven’t been responsive. But I don’t
               know what we’re going to be able to do if they just won’t respond.” (Roy, Hr’g
               Tr. 23:16-22, June 7, 2021, excerpts attached as Ex. C.)

       •       “Plaintiffs believed in good faith when the Parties proposed the briefing schedule
               for decertification that they would be able to obtain and schedule opt-in
               depositions quicker than what has occurred.” (Roy, ECF No. 274 at 1.)

       •       To Judge Colville in Claiborne, when addressing the number of opt-ins that
               should be subject to the same limited questionnaire discovery used in Roy:
               “Inevitably a lot of people who were chosen to participate in discovery simply
               won’t do it. A lot of people opted in. If they’re told that they need to take further
               action in the case, a lot of them just won’t do it.” (Claiborne, Hr’g Tr. 6:4-7, Jan.
               27, 2021.)

       •       To Judge Colville: “I mean the truth of it is is that when you have these cases,
               yes, a lot of people don’t want to participate. It’s hard to get them to participate.”
               (Claiborne, Hr’g Tr. 17:25-18:2, Feb. 10, 2022, excerpts attached at Ex. D.)

       By decertification in early 2024, FedEx had received only 60 “complete” questionnaire

responses 4 from the total 129 discovery questionnaires it had issued, almost half of which had



4
 The use of the word “complete” for these purposes simply means the person filled out the
questionnaire and produced documents they said they had, if any; however, most said they didn’t
have any documents anymore and therefore produced little to nothing. (Scott Decl. ¶ 11.)



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been Plaintiff-selected, and only 34 of those 60 produced any documents at all. (Scott Decl.

¶ 11.) Even where FedEx did receive responses, even partial ones, those responses took many

months to receive. (Id. ¶ 12.) There were also deficiencies with the two named plaintiffs’

discovery as well. Plaintiff Jordan Roy did not produce any pay documents despite the fact that

he filed suit shortly after her stopped working for his Service Provider. (Id. ¶ 16.) He testified in

his deposition that he did not keep relevant pay stubs and other documents because he “didn’t

think i[t] was going to come to this point.” (Roy Dep. 122:22-123:2, 123:19-124:1, excerpts

attached as Ex. E.) Justin Trumbull produced a limited number of pay stubs, despite also filing

suit shortly after he stopped working for his Service Provider. (Scott Decl. ¶ 16.)

       Additionally, throughout Roy, the parties and the Court saw that even from the relatively

small sampling that participated in discovery, though they all had signed a form swearing under

penalty of perjury that they had driven light vehicles, worked overtime in those vehicles, and not

been paid for that overtime, that was not true for many. (See, e.g., Roy, Hr’g Tr. 6:14-19, June 7,

2021 (Ms. Liss-Riordan stated, “a handful of [opt-ins] have withdrawn . . . people who, you

know for one reason or another, we’ve determined are not eligible or did not spend any

substantial amount of time driving a small truck”); Roy, ECF No. 360, Pls.’ Unopposed Mot. to

Dismiss 32 Opt-In Pls. Based on FedEx’s Data (admitting that an additional 32 opt-ins “are not

able to recover overtime pay because they did not drive vehicles under 10,001 pounds gross

weight for more than a de minimis amount of time during the relevant period”); id., ECF No. 308

(same for five additional opt-ins).)

       B.      The Court Decertified the Collective

       On March 29, 2024, the Court granted FedEx’s motion to decertify the Roy collective,

holding that “in view of the disparities in the record, [FedEx] is entitled to defend Plaintiffs’




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claims individually.” (Roy, ECF No. 408 at 25, attached as Ex. F.) Following decertification,

LLR asked for, and received over FedEx’s objection to such a lengthy time period, a 120-day

tolling period to allow the dismissed opt-ins to file their claims individually. (See Roy, Hr’g Tr.

5:21-7:7, Apr. 9, 2024, excerpts attached as Ex. G.) LLR represented that it planned to “reach[]

out to opt-ins to let them know about the Court’s ruling and find out who wants to continue to

pursue their claims individually, and then [it] would refile those separately.” (Id. at 5:1-6.)

       In the Claiborne action, where LLR voluntarily decertified the case after this Court’s

decertification, LLR was granted the same 120-day tolling period per its request. (Claiborne,

ECF No. 526.) There, LLR represented to the Court that it purportedly spent this time “work[ing]

diligently to inform the Claiborne opt-in plaintiffs of the decertification order and of their right

to pursue individual claims.” (Id., ECF No. 544.) LLR further represented there that it

“intend[ed] to organize the complaints so that the plaintiffs in the first complaint are those who

have already undergone discovery” and that “[t]he following complaints will have plaintiffs

generally grouped and listed based on the state in which they worked.” (Id.) FedEx understood

that LLR planned to separate the Massachusetts opt-in complaints similarly. That is, LLR would

have one complaint for opt-ins who participated in discovery in Roy in some way and one for

those who did not participate in Roy discovery. It appears that the 38 Doyle Plaintiffs were all

chosen as discovery opt-ins, either by FedEx or the Plaintiffs, in Roy. (Scott Decl. ¶ 13.)

II.    THE DOYLE ACTION

       On August 6, 2024, along with three other mass actions totaling over 12,000 Plaintiffs,

LLR filed this mass action on behalf of 38 Plaintiffs. (ECF No. 1.) Given the low participation

level of Roy and Claiborne discovery opt-ins, FedEx conducted some social media research to

attempt to find how LLR had communicated with these opt-ins about what joining as Plaintiffs,




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rather than opt-ins, would mean in terms of their obligations and participation. FedEx quickly

realized that LLR had not conducted any meaningful investigation into the validity of the claims

asserted in this case, nor did it appear that LLR had adequately informed opt-ins that they were

becoming named Plaintiffs with obligations to participate fully in discovery, to preserve

documents for litigation, or the risks associated with becoming a named Plaintiff (including

being responsible for costs if they lose their case).

                                           ARGUMENT

       In filing Doyle, LLR has not met its Rule 11 obligations. Rule 11 “prohibits filings made

with any improper purpose, the offering of frivolous arguments, and the assertion of factual

allegations without evidentiary support or the likely prospect of such support.” Roger Edwards,

LLC v. Fiddes & Son Ltd., 437 F.3d 140, 142 (1st Cir. 2006) (internal quotation marks omitted).

As the court in In re Engle Cases aptly recognized, the volume of claims does not change these

obligations. 283 F. Supp. 3d at 1221. Yet LLR is doing just what In re Engle Cases warned

against: attempting to overwhelm FedEx and the Court with a “tidal wave of lawsuits, and at the

same time bear diminished responsibility for filing claims that lack factual support.” Id.

       That is, instead of conducting the required, reasonable inquiry to determine which, if any,

of the Plaintiffs have viable individual claims to bring before filing, LLR filed untenable and

unworkable mass actions on behalf of anyone who responded to a mass email requesting

permission to “refile” their claim. This failure has resulted in individuals being included as

Plaintiffs who do not have claims and who have already shown they will not participate in

discovery as they are required to do. LLR cannot continue to treat these cases as putative

collective actions after the Court decertified Roy. Decertification has consequences. It means that

LLR now had to conduct a reasonable legal and factual inquiry into each individual Plaintiff’s




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claim before moving forward with new lawsuits to ensure that it included only valid claims

brought by individuals willing and able to fully participate in the discovery process to prosecute

them, and for LLR itself to ensure it could promptly and efficiently litigate these claims.

       If FedEx is forced to respond to the amended complaint and defend this case as currently

pled, particularly in light of LLR and its other cases representing over 12,000 Plaintiffs, the

parties and the Court are headed for years of fruitless litigation and waste of resources. FedEx

will have to seek full named-Plaintiff discovery from dozens of Plaintiffs who have already

demonstrated their inability or unwillingness to fully participate in limited opt-in discovery in the

collective context. The parties and the Court will also have to spend significant resources in

attempting to winnow down claims that were not viable (in whole or in part) to begin with. And

that’s by design. Indeed, Ms. Liss-Riordan promised this when she told FedEx’s counsel that if

FedEx was not willing to negotiate a “global resolution,” then the parties would “have fun

together” litigating the cases for the “next 10 years or more.” (Scott Decl. ¶¶ 25-26, 29.) But

FedEx should not be required to fulfill LLR’s basic Rule 11 requirements for it. Rather, the

Court should dismiss the complaint and require LLR to conduct the reasonable investigations

and communications it should have done before filing.

I.     LLR HAS VIOLATED RULE 11(b)(1)

       “By presenting to the court a pleading . . . an attorney or unrepresented party certifies that

to the best of the person’s knowledge, information, and belief, formed after an inquiry reasonable

under the circumstances: (1) it is not being presented for any improper purpose, such as to

harass, cause unnecessary delay, or needlessly increase the cost of litigation . . .” Fed. R. Civ. P.

11(b)(1). “Rule 11 is designed to discourage the filing of frivolous and unsupported claims by

‘imposing a duty on counsel to investigate their clients’ claims before making any filings and to




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reassess them throughout the litigation.’” Leavitt v. United Servs. Auto. Ass’n, No. 4:23-CV-

11341-IT, 2024 WL 218504, at *9 (D. Mass. Jan. 19, 2024) (emphasis added). Such

investigation must include a “reasonable inquiry into the facts and the law.” Id. LLR has not and

cannot make such a showing, because it cannot even demonstrate that the 38 Plaintiffs are valid

Plaintiffs or that LLR can ensure each Plaintiff will actively participate in this litigation.

       A.      There Is No Indication These Are Valid Plaintiffs

       While it appears LLR sent out a mass email to the previous Roy and Claiborne opt-ins

during the 120 days of tolling it requested, it does not appear that LLR communicated to its

clients the significant differences between being an opt-in versus a named Plaintiff. This matters

because “the fact that an individual might have been interested in participating as a passive class

member in a case that might potentially be resolved on a classwide basis did not mean that he or

she was legally authorized or willing to file an individual contested lawsuit.” In re Engle Cases,

283 F. Supp. 3d at 1222 n.41 (cleaned up).

       LLR’s communications to its clients, some of which its clients posted online, 5 only

informed the opt-ins of their right to pursue individual claims against FedEx and misleadingly

suggested that LLR already made a determination regarding the merits of their claims. LLR did

not explain that pursing these claims on an individual basis would mean these Plaintiffs would




5
 Other than the information posted publicly online, FedEx does not have any insight into other
communications LLR may have had with its clients, if any, and it is not asking for such
communications. If LLR claims to have had additional communications with those that ended up
as Plaintiffs in this case that proves they were properly informed of, and accepted, their duties
and obligations of acting as Plaintiffs, it should present them to the Court for in camera review.
However, even if LLR has such communications, this does not resolve the separate bases for this
motion, which is that LLR itself did not do any investigation into the validity of any of these
Plaintiffs’ claims and that LLR itself admittedly is unable to timely or properly prosecute
Plaintiffs’ claims.



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have full discovery and other obligations they did not have previously. For example, in an email

sent on or about May 7, 2024 (attached as Ex. H (see also Scott Decl. ¶ 30)), LLR:

       •       Requested that individuals submit a retainer so that LLR can “CONTINUE
               REPRESENTING YOU TO RECOVER OVERTIME PAY WE BELIEVE YOU
               ARE OWED” (underlined emphasis added) and that the individual initially opted
               into the case where LLR was arguing that they “get paid overtime you are eligible
               for” (emphasis added).

       •       Stated that representing them on their overtime claim against FedEx and “re-
               fil[ing]” their individual claim “is no problem for us to do, and we expect to
               continue representing thousands of FedEx drivers around the country for whom
               we have been pursuing this claim.” Id.

       Another communication from LLR, attached as Ex. I (see also Scott Decl. ¶ 31), states

“[w]e have been pursuing your claim for several years but, under a recent court ruling, we need

your permission to refile your claim.” That communication then linked to LLR’s website, where

it requested information from the individual “[t]o see if you qualify.” (Ex. J (see also Scott Decl.

¶ 32).) Other than contact information, the questions simply asked for “FedEx Terminal City”

and “FedEx Terminal State”—nothing about qualification to participate as a Service Provider

driver that drove light vehicles and were not paid overtime. (See Ex. J.) And, most notably,

despite the entire basis for pursuing FedEx instead of Plaintiffs’ employing Service Providers on

the theory that FedEx employed them, for individuals to submit the form they had to check the

following:




(Id. (highlighting added).)

       These communications show that once a person simply signed up with nothing more than

this basic information, and confirmation they are not an employee of FedEx, LLR would

automatically “refile” their claim, regardless of its merit and regardless of them having any


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actual understanding of what they were signing on to do. 6 This was likely strategic. Ms. Liss-

Riordan’s prior statements to the Court and the Claiborne court show that she was aware that

most opt-ins did not want to actively participate in a lawsuit. By conveniently leaving out any

information about future discovery and other obligations, and suggesting merits determinations

had already been made, LLR increased the number of respondents, which, helpfully for LLR,

increases the costs of litigation for FedEx in an attempt to harass FedEx into settlement. 7

       This is consistent with LLR’s consistent failure to properly vet the validity of claims and

willingness of plaintiffs to fully participate even for those it has sought to represent in putative

state- and nationwide classes. (See Claiborne, ECF Nos. 293, 294 (dismissing original named

Plaintiff, A. Sullivan-Blake); id., ECF No. 378 (dismissing putative Hawaii class representative

named Plaintiff, D. Kauhane); id., ECF Nos. 464, 465 (dismissing putative New Jersey class

representative named Plaintiff, D. Forrester); id., ECF No. 323, Pls.’ Mem. in Opp’n to Def’s

Mot. for Summ. J. on All Claims Asserted by Pls.’ D. Russell, K. Burton, and T. Deppiesse, at 1-

2 (in response to FedEx’s summary judgment motion based on plaintiffs Russell and Burton not

having driven light vehicles, plaintiffs indicating they “are withdrawing their overtime claims”).)

That is sanctionable conduct. See, e.g., In re Engle Cases, 767 F.3d 1082, 1088 n.4 (11th Cir.


6
 LLR itself has put all Plaintiffs’ claims in a worse position. If a person does not believe FedEx
was their employer, that is relevant to several joint employment factors, including who actually
controlled their day-to-day work, discipline, who they reported to, and related information. At a
minimum, it is impeachment material for every Plaintiff that checked that box.
7
  Specifically, before filing this suit, Ms. Liss-Riordan told FedEx’s counsel, Ms. Scott, that LLR
was planning to file “many thousands” of claims and that now would be a good time to discuss a
“global resolution.” (Scott Decl. ¶¶ 23-24.) Ms. Liss-Riordan stated that the parties could
mediate based on “data” regarding these individuals, and when Ms. Scott asked if that included
Plaintiffs obtaining and providing actual pay information for these individuals, Ms. Liss-Riordan
did not answer the question. (Id. ¶ 26.) Ms. Liss-Riordan touted that if FedEx was not interested
in a global resolution for these thousands of claims, the parties would “have fun together”
litigating these cases “for the next 10 years or more.” (See id. ¶¶ 24, 27.)



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2014) (“[T]he lawyers in these cases have established a pattern of acting on behalf of ‘clients’

they have dubious authority to represent. As will become evident from the history of this mass

action, plaintiffs’ counsel have mostly managed their inventory of cases as they see fit, with

scant contact with or input from the individuals they purport to represent.”).

       B.      LLR Knows It Cannot Get Each Plaintiff to Participate in this Case As
               Plaintiffs Are Required to Do

       It’s beyond belief that 38 Plaintiffs, many of whom have already demonstrated their

unwillingness to participate only as opt-ins in the Roy collective, will each fully participate in

named Plaintiff discovery (as they must), including responding to written discovery and sitting

for depositions. In Roy, LLR could marshal only barely half participation from 129

questionnaires issued to opt-ins, including those selected by LLR itself, over a period of five

years. And those struggles occurred despite LLR’s self-proclaimed diligence. But that didn’t stop

LLR from assuring the former opt-ins that refiling their claims here and litigating thousands of

individual driver claims across multiple cases was “no problem for [it] to do.” (See Ex. H.)

       The 38 Plaintiffs in this action were all opt-ins chosen for discovery in Roy, either by

FedEx or by LLR. As such, LLR is intimately familiar with their discovery deficiencies and its

admitted struggles in getting these so-called Plaintiffs to participate in the limited discovery

ordered of them there, where they all had been a part of Roy since 2019.

       Nine of the 38 Plaintiffs in this action did not fully comply with their discovery

obligations in Roy. Two Plaintiffs, Luke Scarbrough and Christopher Cantin, never responded to

their discovery questionnaire. (Scott Decl. ¶ 13.) The Court ordered them to produce completed

questionnaires within 60 days of its order entered on August 23, 2021, and they never did. (Roy,

ECF No. 221.) While the Court did not dismiss their claims when they failed to respond, it held

that Plaintiffs were not entitled to rely on information related to these Plaintiffs’ employment in



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decertification briefing. (Id. at 18.) It is hard to believe these two individuals signed on to be

actual Plaintiffs here and, if they had, that they will now participate more than they were willing

to do in Roy (i.e., nothing).

        Seven other Plaintiffs did not fully comply with their limited discovery obligations in

Roy. That is, they did not produce all of the documents they said they had in their possession up

through the time FedEx filed its decertification motion on August 18, 2023, and many testified

that they were never instructed to preserve relevant documents. As a few examples:

        •       Antonio Barros, who was deposed in Roy, produced only W-2s through 2021 and
                paystubs through 2022, even though he was a current driver through at least
                August 18, 2023. (Scott Decl. ¶ 14.) Moreover, Barros testified at his deposition
                that he had many documents in his possession that he had not produced, and that
                no one told him to keep copies of information related to the case. (Barros Dep.
                41:9-42:20, 46:21-47:6, excerpts attached as Ex. L.)

        •       Diana Fowler produced pay stubs only through 2019, even though she drove
                through 2021. (Scott Decl. ¶ 15.)

        •       Paul Odierno testified that no one instructed him to preserve potentially relevant
                documents related to the case. (Odierno Dep. 128:22-24, excepts attached as Ex.
                M.) Odierno did not produce any documents at all. (Scott Decl. ¶ 17.)

        Moreover, 21 of the 38 Plaintiffs here were not deposed in Roy. (Scott Decl. ¶ 20.) As

LLR has admitted to this Court, even where opt-ins responded to discovery questionnaires, LLR

still struggled to get them to sit for depositions. (Roy, Hr’g Tr. 23:16-22, June 7, 2021.)

        If past is prologue, and there is no reason to believe that it isn’t, LLR’s ability to handle

the discovery obligations here, in combination with three other cases asserting claims on behalf

of over 12,000 individuals, is in serious doubt, especially because the number of lawyers for

Plaintiffs is less than in Roy or Claiborne, with only LLR (a law firm of 13 attorneys) listed as




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Plaintiffs’ counsel across all four mass actions. 8 LLR’s admitted inability, even with co-counsel,

to fully litigate on behalf of hundreds of individuals in Roy and Claiborne in a timely or efficient

manner means that LLR filed its new cases against FedEx, including this one, only to “harass,

cause unnecessary delay, [and] needlessly increase the cost of litigation” (see Fed. R. Civ. P.

11(b)(1)), as Ms. Liss-Riordan stated, in an attempt to reach some sort of “global resolution.”

FedEx and the Court should not be the ones burdened with going through the discovery process

with each of these individuals to try to figure out which ones legitimately can and will participate

as Plaintiffs.

        Even as recently as October 25, 2024, when dealing with just the remaining 12 plaintiffs

in Claiborne, Ms. Liss-Riordan attempted to blame LLR’s grossly erroneous damages

calculations it provided to FedEx for them on having to go through “a ridiculous amount of data”

and that somehow this was FedEx’s fault. (Scott Decl. ¶ 34, & Ex. K.) But this “ridiculous

amount of data” was simply paystubs the plaintiffs had produced (none of whom produced

complete sets), the plaintiffs’ depositions, and the summary scanner and vehicle data LLR had

requested from FedEx, for just 12 plaintiffs. (Scott Decl. ¶ 35.) When LLR is unable to put

together basic damages disclosures and calculations for just 12 plaintiffs, it is implausible that

LLR will be able to adequately litigate on behalf of dozens of Plaintiffs here.

        The In re Engle Cases, 283 F. Supp. 3d at 1221, is instructive. There, following the

decertification of a class action, a law firm was given one year to file claims on behalf of

individual plaintiffs. Id. at 1185-87. The law firm filed 3,700 complaints in state and federal

courts, despite the fact that it did not have the capacity to litigate on behalf of 3,700 people and



8
 Albeit all relatively small firms, Roy had two firms involved: LLR and Winebrake & Santillo,
LLC. (See, e.g., Roy, ECF No. 375 at 41.)



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was not able to contact all of its “clients” before the filing deadline. Id. When it couldn’t get in

touch with the potential plaintiffs, it relied on previous opt-in forms from the collective as the

basis for filing the complaints. Id. at 1187.

       Over the next several years, the majority of the claims were “resolved through a

painstakingly piecemeal culling process,” involving court-ordered questionnaires, which yielded

only an approximately 65% response rate, and numerous plaintiffs dismissed for frivolity. Id. at

1182-84, 1188, 1190, 1194 (noting that 118 cases were dismissed because they were filed in

“clerical error,” the law firm had filed over 500 cases on behalf of dead plaintiffs, 30 cases were

dismissed because they were previously adjudicated, and 25 cases were dismissed because

plaintiffs had opted-out of the previous class action). In the end, the court found that the law firm

had filed and maintained at least 1,250 suits that were “frivolous from their inception.” Id. at

1254. The court sanctioned the law firm over nine million dollars to recoup judicial and public

resources. Id. at 1255.

       FedEx is not asking the Court to sanction LLR in this fashion. But the “root of the

problem” is the same here as it was in Engle. That is, when this case was filed, “the law firm that

brought [it] didn’t have the time or resources required to fully investigate all the complaints.” See

In re Engle Cases, 767 F.3d at 1087. Because of this, “problem after problem cropped up” and

“[o]ver and over, plaintiffs’ counsel explained that these problems were the result of the unique

logistical difficulties involved in managing so many individual lawsuits.” Id. But that cannot

change the irrefutable fact that “a lawyer’s responsibilities to the court are not diluted even by an

ocean of claims.” Id. In other words, the same rules apply whether there is one plaintiff or 38.




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II.    LLR HAS VIOLATED RULE 11(b)(2)-(3)

       Rule 11 sanctions are appropriate where the claims presented are not based on a

reasonable inquiry. See e.g., Leavitt, 2024 WL 218504, at *11 (granting defendant’s motion for

Rule 11 sanctions because the factual contentions in plaintiff’s complaint were “unsupported by

evidence”); In re Engle Cases, 283 F. Supp. 3d at 1221 (rejecting counsel’s argument that factual

errors were inevitable given that he had only one year to file complaints on behalf of over 3,700

individuals). FedEx’s investigation into these claims is far from complete, but it has already

uncovered myriad problems with a significant number of Plaintiffs’ claims.

       All of these problems could have been avoided if LLR had just conducted the requisite

inquiry or analysis of its clients’ claims. Because LLR failed to do so, dismissing this case

without prejudice is the appropriate sanction.

       A.      LLR Has Not Alleged Accurate Facts for Many of the Plaintiffs’ Claims

       Despite having access to documents produced in Roy demonstrating that some of the

Plaintiffs were paid overtime by their Service Providers, that some did not work overtime for

significant amounts of time, and that some Plaintiffs drove only heavy vehicles for significant

amounts of time and for certain Service Providers (making them exempt from overtime), LLR

proceeded with blanket allegations, claiming damages for all years driven. (See generally First

Am. Compl., ECF No. 14.) LLR’s possesses evidence showing that many of its allegations are

baseless. As a few examples:

       •       LLR alleges that Sean Doyle drove from 2016 to 2021 without being paid
               overtime, but Doyle admitted, and his pay documents show, that he was paid
               overtime beginning in at least December 2020. (Compare ECF No. 14 ¶ 3 with
               Roy, ECF No. 350-15; Scott Decl. ¶ 21.)

       •       LLR alleges that Keith Eddington drove from 2017 to 2018 without being paid
               overtime, but documents produced in Roy demonstrate that he was paid overtime
               beginning in at least May 2018. (Compare ECF No. 14 ¶ 12 with Scott Decl.



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               ¶ 22.) Additionally, Eddington’s summary scanner and vehicle data shows that he
               drove only heavy vehicles for one of his Service Providers, AMP Transport Inc.
               in December 2017, and thus is not eligible for any overtime while working for
               that Service Provider (See Roy, ECF No. 350-16.)

       •       LLR alleges that Dana McDonald drove from 2015 to 2017 without being paid
               overtime, but McDonald’s summary scanner and vehicle data shows that she
               drove only heavy vehicles for one of her Service Providers, M&M Logistics, Inc.
               from March to June 2015, and thus is not eligible for any overtime while working
               for that Service Provider. (See Roy, ECF No. 351-18.)

       •       LLR alleges that Antonio Teixeria Barros drove from 2017 to 2024 without being
               paid overtime, but Barros’s summary scanner and vehicle data shows that he
               drove only heavy vehicles for one of his Service Providers, Becks Transportation
               Corp., for 69 weeks from 2018 to 2020, and thus is not eligible for any overtime
               while working for that Service Provider. (See Roy, ECF No. 349-22.)

       In moving to compel FedEx’s available scanner and vehicle data for all opt-ins, LLR

argued that scanner data was “clearly . . . relevant to the issue of whether opt-in Plaintiffs

worked overtime hours.” (See Roy, ECF No. 256 at 7.) Yet, even though LLR indisputably has

this information it deems “clearly relevant” readily available for all of the Plaintiffs in this case,

it did not take the time to inquire into the most basic facts and then convey those facts in its

pleading. Such cavalier conduct in failing to investigate and allege precisely when these

Plaintiffs claim they were owed and not paid overtime is sanctionable. See, e.g., In re Engle

Cases, 283 F. Supp. 3d at 1218 (awarding Rule 11 sanctions where the plaintiffs’ counsel’s

“approach to filing the complaints was to file-first-and-ask-questions-later by stating that his firm

lacked ‘the ability to contact 7,000 people in a year,’ so instead they opted to file the complaints

and then determine whether the cases were viable”); Galanis v. Szulik, 841 F. Supp. 2d 456, 462

(D. Mass. 2011) (issuing sanctions where plaintiff’s counsel filed complaint, without any further




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investigation, “despite the absence of evidence supporting plaintiff’s material allegations and

after receiving a letter from defendant’s counsel contesting th[e] allegations”). 9

       LLR also included a Plaintiff in both the original and amended complaint, Roberto

Ayala-Robles, who is also named in the Alleyne complaint. (Compare ECF No. 14 ¶ 5 with

Alleyne, ECF No. 21 ¶ 11.) Clearly, this Plaintiff cannot maintain the same claim against FedEx

in two separate actions, and thus his claim in one of those complaints is legally and factually

baseless. Moreover, in Alleyne, LLR alleges that Mr. Ayala-Robles drove from 2014 to 2024,

while in Doyle, LLR alleges that Mr. Ayala-Robles drove from 2014 to 2016. (See id.) Neither of

these appear to be correct—scanner data FedEx produced to LLR during discovery in Roy shows

he drove only in 2015. (Scott Decl. ¶ 16.) 10

       B.      LLR Has Not Requested Pay Documents from Plaintiffs’ Employers

       Some courts have held that in FLSA cases, a reasonable pre-suit factual inquiry includes

requesting the plaintiff’s pay documents from their employer and reviewing those documents to

ensure the factual viability of their overtime claim. See e.g., Brown v. M/I Homes of Orlando,

LLC, No. 608-CV-528-ORL-28KRS, 2008 WL 5099695, at *2 (M.D. Fla. Nov. 26, 2008) (“In

any case brought under the FLSA, a reasonable pre-filing inquiry necessarily would include a

substantive inquiry with Plaintiff regarding her attendance at work, including absences for



9
  LLR will attempt to distinguish In re Engle Cases because LLR sent out a mass email
communication this year asking for permission to “refile” opt-ins’ claims and, presumably,
obtained such permission in response to that communication before filing. However, as discussed
at length throughout this brief, LLR did not explain to the previous opt-ins how their status was
changing and what that meant for them and, even if it had, LLR was still under an obligation to
conduct a reasonable inquiry into their claims and never did so.
10
  There was only one Roberto Ayala-Robles that opted into Roy. FedEx has confirmed there is
not another driver with the same name that drove in the state of Massachusetts that could
somehow explain this discrepancy. (Scott Decl. ¶ 23.)



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vacations, medical leave, etc., and a request to Plaintiff’s employer to inspect or copy Plaintiff’s

time sheets, payroll records, and other relevant records that an employer is required to

maintain.”); Estrada v. FTS USA, LLC, No. 14-23388-CIV, 2018 WL 1836007, at *4-5

(S.D. Fla. Jan. 23, 2018), r. & r. adopted, No. 14-CV-23388, 2018 WL 1811907 (S.D. Fla. Mar.

16, 2018), aff’d, 810 F. App’x 743 (11th Cir. 2020), (“In this case, had Plaintiff’s counsel looked

at the Plaintiff’s Earnings Statements, they would have seen that Defendant paid Plaintiff

overtime wages.”). But, for years, LLR has not sought this information.

       In Roy, LLR refused to request pay documents from the opt-ins’ Service Providers until it

was ordered by the Court to do so (for six opt-ins), though it knew full well that is where opt-ins’

pay documents reside. (Roy, ECF No. 221.) As the Court determined, because employees in

Massachusetts have the right to obtain information related to their “rate of pay and other

compensation” from their employers (the Service Providers), such pay information is within the

control of the Plaintiffs. (See id. at 6.) Despite the Court’s determination, LLR did not request

pay information from any Service Providers apart from those that employed the six opt-ins for

which the Court determined it must and, even for them, never issued subpoenas. (Scott Decl.

¶ 24.) Indeed, LLR never sought such information from the Service Provider that employed

Named Plaintiffs Roy and Trumbull, either informally or through court process. (Id.) LLR

clearly has not done so here either with respect to the 38 Plaintiffs, and thus has not conducted

any factual inquiry into these Plaintiffs’ claims apart from the online form Plaintiffs filled out

with basic information that requested nothing about pay or vehicles driven. (See Ex. J.)




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III.    PLAINTIFFS’ COMPLAINT SHOULD BE DISMISSED AND LLR SHOULD BE
        REQUIRED TO CONDUCT A REASONABLE INQUIRY INTO EACH
        PLAINTIFF’S CLAIMS BEFORE REFILING

        FedEx anticipates LLR’s response to this motion will be to offer to dismiss those

individuals discussed herein. However, this does not resolve the overarching problems with the

amended complaint itself and as applied to all Plaintiffs:

        •      (1) the complaint was filed to harass, cause unnecessary delay, and to needlessly
               increase the cost of litigation because

               •       (a) LLR did nothing to ensure that any of these Plaintiffs are legitimate
                       Plaintiffs with an understanding of their obligations to actively participate
                       in the case now as named Plaintiffs (which we know from LLR’s own
                       communications with its clients); and

               •       (b) LLR knows full well based on past experience in Roy and Claiborne
                       that it cannot possibly properly litigate this case on behalf of 38
                       individuals (which we know from LLR’s admissions to the courts in both
                       cases), particularly when considered in light of its other cases against
                       FedEx where LLR purports to represent over 12,000 other plaintiffs; and

        •      (2) LLR conducted no reasonable inquiry as to each Plaintiff to ensure their
               claims had legal and factual merit.

As a result, the only solution here to rectify these Rule 11 violations is to dismiss the amended

complaint without prejudice to refile once, and if, LLR does what it has failed to do.

        “One of the central purposes of Rule 11 is to protect parties and the court from wasteful,

frivolous, and harassing lawsuits, and the rule provides for sanctions as a deterrent to such

abusive conduct.” Azubuko v. MBNA Am. Bank, 396 F. Supp. 2d 1, 7 (D. Mass. 2005) (citation

omitted). Rule 11 sanctions can be monetary, non-monetary, or both. See e.g., Est. of Hennis v.

Balicki, No. CV 16-4216 (JBS-AMD), 2018 WL 2230543, at *2 (D.N.J. May 16, 2018).

“Dismissal is a legitimate sanction under Rule 11, for serious misconduct when lesser sanctions

would be ineffective or are unavailable.” Marina Mgmt. Servs., Inc. v. Vessel My Girls, 202 F.3d

315, 325-26 (D.C. Cir. 2000) (citations omitted) (affirming dismissal of five counterclaims under



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Rule 11); Del Giudice v. S.A.C. Cap. Mgmt., LLC, No. CIV. A. 06-1413 SRC, 2009 WL 424368,

at *11-12 (D.N.J. Feb. 19, 2009) (dismissing amended complaint without prejudice where

lawsuit “was filed without even the pretense of a factual investigation by the filer”); Miller v.

Bridgeport Bd. of Educ., No. 3:12-CV-01287 JAM, 2014 WL 3738057, at *10 (D. Conn. July

30, 2014) (dismissing lawsuit with prejudice where lawyer fabricated allegations in complaint);

Jimenez v. Madison Area Tech. Coll., 321 F.3d 652, 657 (7th Cir. 2003) (affirming dismissal as

Rule 11 sanction where plaintiff used fabricated documents to support false allegations in

complaint).

       Here, any sanction other than dismissal would be ineffective. The Court granted LLR 120

days following the Court’s decertification of the collective in Roy to file claims on behalf of

individual plaintiffs. LLR was supposed to use that time to adequately discuss the validity of opt-

ins’ claims and their desire to continue to pursue them as Plaintiffs rather than part of a

collective. LLR did not do so. LLR’s Rule 11 obligations are not diminished because it decided

to bring suit on behalf of 38 Plaintiffs (and over 12,000 in the three other cases), nor should

LLR’s burden be shifted to FedEx. See In re Engle Cases, 283 F. Supp. 3d at 1221.

       Requiring FedEx to bear that burden for LLR by filing potentially dozens of motions to

dismiss and seeking full discovery and depositions from dozens of Plaintiffs, many of whom will

not respond or participate fully, would be prejudicial and a waste of the parties’ and the Court’s

time and resources. According to Ms. Liss-Riordan, that process will “take the next 10 years.”

       Just as in the In re Engle Cases, LLR has brought an “ocean of claims” against FedEx,

many of which are frivolous and all of which, at the very least, LLR has not reasonably

investigated. See 767 F.3d at 1087. FedEx and the Court should not be required to conduct the

same painstaking winnowing process conducted there, which, from what FedEx discussed above,




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is certain to uncover the same result: LLR brought claims that were frivolous from the start and

brought claims on behalf of Plaintiffs it knew would ultimately not actually participate and that

LLR knew it could not itself handle. “It’s not the Court’s responsibility to engage in this

winnowing process. The Court’s responsibility is to take counsel to task when complaints are

filed that are not authorized, for which there has been no affirmative act by the client to engage

the lawyer to request that those services be expended on his or her behalf.” See In re Engle

Cases, 283 F. Supp. 3d at 1199.

                                         CONCLUSION

       FedEx respectfully requests that its motion be granted in full.




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Dated: December 2, 2024          Respectfully submitted,



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                     CERTIFICATE OF SERVICE (CM/ECF)

I HEREBY CERTIFY that on December 2, 2024, I electronically served the foregoing
FEDERAL EXPRESS CORPORATION’S MEMORANDUM IN SUPPORT OF MOTION
FOR RULE 11 SANCTIONS via CM/ECF.

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